        Case 3:19-cv-01743-SI        Document 92      Filed 11/21/19   Page 1 of 6




Stephen Manning (SBN 013373)                     Karen C. Tumlin (admitted pro hac vice)
stephen@innovationlawlab.org                     karen.tumlin@justiceactioncenter.org
Nadia Dahab (SBN 125630)                         Esther H. Sung (admitted pro hac vice)
nadia@innovationlawlab.org                       esther.sung@justiceactioncenter.org
INNOVATION LAW LAB                               JUSTICE ACTION CENTER
333 SW Fifth Avenue #200                         P.O. Box 27280
Portland, OR 97204                               Los Angeles, CA 90027
Telephone: +1 503 241-0035                       Telephone: +1 323 316-0944
Facsimile: +1 503 241-7733

Attorneys for Plaintiffs
(Additional counsel listed on signature page.)



                          UNITED STATES DISTRICT COURT

                                 DISTRICT OF OREGON

                                  PORTLAND DIVISION

JOHN DOE #1; JUAN RAMON MORALES;                 Case No.: 3:19-cv-01743-SI
JANE DOE #2; JANE DOE #3; IRIS
ANGELINA CASTRO; BLAKE DOE;
BRENDA VILLARRUEL; and LATINO
NETWORK,
                             Plaintiffs,
       v.                                        PLAINTIFFS’ SUPPLEMENTAL BRIEF
                                                 IN SUPPORT OF MOTION FOR
                                                 PRELIMINARY INJUNCTION

DONALD TRUMP, in his official capacity as
President of the United States; U.S.
DEPARTMENT OF HOMELAND
SECURITY; CHAD F. WOLF, in his official
capacity as Acting Secretary of the
Department of Homeland Security; U.S.
DEPARTMENT OF HEALTH AND
HUMAN SERVICES; ALEX M. AZAR II, in
his official capacity as Secretary of the
Department of Health and Human Services;
U.S. DEPARTMENT OF STATE;
MICHAEL POMPEO, in his official capacity
as Secretary of State; and UNITED STATES
OF AMERICA,
                            Defendants.
          Case 3:19-cv-01743-SI       Document 92       Filed 11/21/19     Page 2 of 6




       On November 20, 2019, Defendants produced a limited set of documents in response to

the Court’s order on Plaintiffs’ Motion to Compel. The documents confirm that the

Proclamation is not “self-executing,” as Defendants have claimed.1 See Opposition to Plaintiffs’
Motion for Preliminary Injunction (“Opp.”) at 22 (ECF 84). Instead, they reflect that the State
Department perceived itself as the implementing agency. See Partial Administrative Record,
ECF 91, at 48 (November 1, 2019 Email Message to Posts stating that “Posts must begin
implementation of P.P. 9945 on November 3, 2019.”); ECF 91, at 28 (“Emergency review and
approval of this information collection is necessary for the Department to implement PP 9945
when it goes into effect on November 3, 2019.”). The State Department took action to implement
the Proclamation as scheduled on November 3, 2019. ECF 91, at 11 (October 23, 2019, Action
Memo for the Secretary). The documents show the State Department commanded compliance
with the announcement on its website and emails it planned to send from the National Visa
Center. See ECF 91, at 11.
       These electronic communications were the tools the State Department used to announce
new “procedures which all must follow” at consular interviews, and the consequences of non-
compliance. See Sugar Cane Growers Co-op. of Fla. v. Veneman, 289 F.3d 89, 96 (D.C. Cir.
2002) (agency “press release” announcing new procedures and sanctions was subject to APA
review as a “rule by any other name”); State of S.C. ex rel. Patrick v. Block, 558 F. Supp. 1004,
1011 (D.S.C. 1983) (describing an announcement as rulemaking “regardless of the label under



1
  Moreover, injunctions are appropriate to enjoin actions of agency officials charged with
following Presidential commands. See City and County of San Francisco, 897 F.3d 1225 (9th
Cir. 2018) (noting an injunction that “did not enjoin any action by the President himself” can
properly enjoin “the Administration official charged with following [the President’s]
commands”); see also Knight First Amendment Institute at Columbia University v. Trump, 302
F. Supp. 3d 541 (S.D.N.Y. 2019) (finding courts empowered to enjoin the President directly but
observing “as a matter of comity” lower officials may be enjoined " even though the effect of the
process is to restrain or compel the President") (quoting Nixon v. Sirica, 487 F.2d 700, 709 (D.C.
Cir. 1973) (en banc) (per curiam)).



PAGE 1 -- PLAINTIFFS’ SUPPLEMENTAL BRIEF IN SUPPORT OF MOTION FOR
PRELIMINARY INJUNCTION
          Case 3:19-cv-01743-SI         Document 92       Filed 11/21/19      Page 3 of 6




which [the agency] chose to announce” its actions or how it “publish[ed] [its] decision to

implement [the] action.”).

       Because the website and emails are the means by which the State Department
communicated its expectations of immediate compliance with mandatory procedures, and served
to publicly announce implementation decisions effective November 3, they constitute final
agency action subject to the APA. See id.; Make the Rd. New York v. McAleenan, 2019 WL
4738070, at *32 (D.D.C. Sept. 27, 2019) (quoting Elec. Privacy Info. Ctr. v. DHS, 653 F.3d 1, 7
(D.C. Cir. 2011)) (“It is enough for the agency’s statement to ‘purport to bind’ those subject to
it, that is, to be cast in ‘mandatory language’ so ‘the affected private parties are reasonably led to
believe that failure to conform will bring adverse consequences.’”).
       Defendants’ documents also confirm that the agency established new interview
requirements not specifically mentioned in the Proclamation, which provides additional support
for Plaintiffs’ claims under the Administrative Procedure Act (“APA”). During interviews,
individuals could be questioned “verbally” about the personal details of their medical conditions,
even after providing additional information through the proposed new information collection,
ECF 91, at 28 (Supporting Statement for Paperwork Reduction Act), and they could be denied a
visa if they lack adequate documentation when they arrive at the consular office.2 These new
screening techniques implicate the rights of regulated parties and constitute an additional and
substantial burden, as well as a further invasion into individuals’ privacy. Because the new
interview policy “substantially changes the experience” of regulated parties, the changes should
have been subjected to notice-and-comment rulemaking. Elec. Privacy Info. Ctr., 653 F.3d at 7
(holding that new TSA high imaging screening should have been introduced with notice-and-



2
  ECF 91, at 17 (October 30 ALDAC) (“[I]f at the time of interview the consular officer requests
additional evidence to establish that the applicant has approved health insurance or the financial
resources to pay for medical costs, the case should first be refused under INA 221(g) in order to
allow the applicant to submit the requested documentation. If the applicant submits documents
that are insufficient to overcome the reasons for the INA 221(g) refusal, the applicant must be
refused using the refusal code HC1.”).
PAGE 2 – PLAINTIFFS’ SUPPLEMENTAL BRIEF IN SUPPORT OF MOTION FOR
PRELIMINARY INJUNCTION
            Case 3:19-cv-01743-SI       Document 92       Filed 11/21/19    Page 4 of 6




comment rulemaking even though passengers are already subject to screening because the new

technique “substantially changes the experience of airline passengers”).

          Defendants’ documents also confirm that the agency understood the new healthcare
insurance requirement was effectively a new public charge rule. ECF 91, at 28 (“[T]he
Department is seeking approval of a separate proposed information collection (DS 5540, Public
Charge Questionnaire) through standard procedures that will incorporate this question into a
form asking for other financial information from applicants.”); id. at 38 (quoting from the
proclamation instead of providing a substantive answer to question #9: “Isn’t this just another
way to restrict family-based immigration, on top of recent changes to Public Charge
regulations?”). As such, it was just as much a matter for rulemaking as the public charge rule
itself.
          Nothing in the materials provides a defense to Plaintiffs’ claims under the APA. The
documents only confirm that the State Department made no findings of their own and did not
conduct any independent evaluations to support their implementation decisions. Instead, the
State Department incorporated the reasoning of the Proclamation by reference, and merely
parroted its language to wave away what it understood to be problems with its actions. See, e.g.,
ECF 91, at 43–44 (Talking Points for Congressional Call Questions 8 and 9); id. at 28 (Health
Insurance Emergency Justification). By merely adopting the President’s reasoning, the agency
exposed itself to challenges based on the flawed reasoning in the Proclamation itself. See E. Bay
Sanctuary Covenant v. Trump, 932 F.3d 742, 770 (9th Cir. 2018); Chamber of Commerce v.
Reich, 74 F.3d 1322, 1326 (D.C. Cir. 1996).
          Finally, the documents debunk the notion that the agency’s hands were tied and it had no
choice but to implement the proclamation on November 3 notwithstanding its failure to satisfy
either the substantive or procedural requirements of the APA. See 5 U.S.C. § 706(2); see also
ECF 91, at 19.
          The APA presumes enough coordination between the executive and the agencies to
ensure new policies can be implemented according to the APA’s standards. But even if there

PAGE 3 – PLAINTIFFS’ SUPPLEMENTAL BRIEF IN SUPPORT OF MOTION FOR
PRELIMINARY INJUNCTION
          Case 3:19-cv-01743-SI        Document 92        Filed 11/21/19     Page 5 of 6




was no such coordination here, the agency was required to comply with legislative directives,

and had at least 30 days to do so between the date of the Proclamation and its effective date.

Given the agency’s failures, it’s implementation should be set aside under the APA. The State
Department cannot possibly take cover under the Proclamation where the Proclamation itself
requires implementation consistent with the law, see generally 5 U.S.C. § 706(2); ECF 91, at 2-
10, and the agency could not implement it lawfully on November 3rd. Saget v. Trump, 375 F.
Supp. 3d 280, 335 (E.D.N.Y. 2019) (injunction against executive branch was proper where it did
not direct “any executive official to reach a certain policy conclusion but rather abide by the
mandates of the APA. [the authorizing statute], and the Constitution”); id. (“The United States is
a government of laws, not of men. Executive officials, be they senior or subordinate, must
follow the law.”); see also Kendall v. United States, 37 U.S. (1 Pet.) 524, 612- 13 (1838) (noting
that the President’s responsibility to “take care that the law be faithfully executed” does not
empower him to forbid lower government officials from properly executing law).
       In sum, the documents Defendants produced confirm the arguments they made in
response to Plaintiffs’ Motion for Preliminary Injunction are without merit. The Proclamation
was not “self-executing,” and the State Department is properly subject to the requirements of the
APA. And because the documents offer no defense to either the procedural or substantive
challenges Plaintiffs’ bring, Plaintiffs are likely to succeed on the merits of their APA claim.




PAGE 4 – PLAINTIFFS’ SUPPLEMENTAL BRIEF IN SUPPORT OF MOTION FOR
PRELIMINARY INJUNCTION
        Case 3:19-cv-01743-SI     Document 92     Filed 11/21/19    Page 6 of 6




DATED this 21st day of November, 2019


                                                INNOVATION LAW LAB

Karen C. Tumlin (admitted pro hac vice)         s/Nadia H. Dahab
karen.tumlin@justiceactioncenter.org            Stephen Manning (SBN 013373)
Esther H. Sung (admitted pro hac vice)          stephen@innovationlawlab.org
esther.sung@justiceactioncenter.org             Nadia Dahab (SBN 125630)
JUSTICE ACTION CENTER                           nadia@innovationlawlab.org
P.O. Box 27280                                  333 SW Fifth Avenue #200
Los Angeles, CA 90027                           Portland, OR 97204
Telephone: +1 323 316-0944                      Telephone: +1 503 241-0035
                                                Facsimile: +1 503 241-7733

                                                -and-

Jesse Bless (admitted pro hac vice)             Scott D. Stein (admitted pro hac vice)
jbless@aila.org                                 sstein@sidley.com
AMERICAN IMMIGRATION LAWYERS                    Kevin M. Fee (admitted pro hac vice)
ASSOCIATION                                     kfee@sidley.com
1301 G. Street, Ste. 300                        SIDLEY AUSTIN LLP
Washington, D.C. 20005                          One South Dearborn St.
                                                Chicago, IL 60603




PAGE 5 – PLAINTIFFS’ SUPPLEMENTAL BRIEF IN SUPPORT OF MOTION FOR
PRELIMINARY INJUNCTION
